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             IN THE UNITED STATES DISTRICT COURT FOR THE

                          WESTERN DISTRICT OF OKLAHOMA



UNITED STATES OF AMERICA,                     )
                                              )
                     Plaintiff,               )
                                              )
              -vs-                            )      Case No. 17-MJ-341STE
                                              )
JUSTIN C. MITCHELL,                           )
                                              )
                     Defendant.               )

                                  ORDER OF DISMISSAL


              NOW on this 19th day of October 2021, on Motion of the plaintiff to dismiss

the above-styled case (Doc. #5), the Court finds that said Motion should be granted for the

reasons therein stated.

              IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that the

Information charging the defendant, Justin C. Mitchell, with a violation of Title 21, United

States Code, Section 844, be and the same is hereby dismissed, without prejudice.
